Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 1 of 12 Pageid#: 1485




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.


    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANT PEINOVICH’S
                      MOTION TO STAY DISCOVERY
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 2 of 12 Pageid#: 1486




                                  PRELIMINARY STATEMENT

         Rather than respond to Plaintiffs’ duly served discovery requests, and more than two

  months after the parties filed their Joint Report of the Parties Pursuant to Rule 26(f) (“Joint 26(f)

  Report”), ECF No. 135, Defendant Michael Peinovich now asks the Court to stay discovery

  pending the resolution of his motion to dismiss the First Amended Complaint (“FAC”). He does

  so without having conferred with Plaintiffs in good faith, as required by Federal Rule of Civil

  Procedure 26(c), thereby burdening the Court with an unripe dispute. But even if Defendant

  Peinovich had properly pursued a stay of discovery, he has plainly failed to meet his burden of

  establishing the “good cause” necessary to obtain that stay: he makes no attempt to establish his

  conclusory claim of burden, he exaggerates the strength of his motion to dismiss the FAC, and he

  ignores the prejudice to Plaintiffs that would result from issuance of the stay he requests.

  Accordingly, for these reasons, and as set forth in more detail below, Defendant Peinovich’s

  motion to stay discovery (“Motion”), ECF Nos. 224–225, should be denied and he should be

  ordered to timely respond to Plaintiffs’ discovery requests.

                                                FACTS

         Plaintiffs filed their Complaint on October 11, 2017. ECF No. 1. The parties held a

  Rule 26(f) conference by phone on November 29, 2017. See ECF No. 135. During that Rule 26(f)

  conference and the discussions that followed, with only limited exceptions, the parties reached

  broad agreement as to the schedule to be entered in this case. See id. In the Joint 26(f) Report that

  was filed with the Court on December 6, 2017, Defendants Hill, Tubbs, and League of the South

  requested “a stay on depositions and interrogatories until the court has ruled on their Rule 12(b)(6)

  motion,” id. at 1.b.ii, and Defendants collectively proposed “that any and all depositions of

  Defendants facing criminal charges related to the incidents sued upon shall occur after the criminal
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 3 of 12 Pageid#: 1487




  case has been tried or a plea agreement has been accepted by the Court as to that Defendant,” id.

  at 2.a. Defendant Peinovich did not propose any other stay of discovery in the Rule 26(f) Report.

  See ECF No. 135.

         Plaintiffs amended their Complaint on January 5, 2018, ECF No. 175, and served Plaintiffs’

  First Set of Interrogatories to All Defendants and Plaintiffs’ [Corrected] First Set of Requests for

  Production of Documents to All Defendants on January 25, 2018. Defendant Peinovich moved to

  dismiss the FAC on January 31, 2018. ECF No. 212. On February 14, 2018, more than two

  months after the filing of the Joint 26(f) Report, and without attempting to confer with Plaintiffs

  in good faith as required by Rule 26(c), see infra note 2, Defendant Peinovich filed this Motion.

  ECF Nos. 224–225. While Defendant Peinovich asserts that all other Defendants except one

  unnamed Defendant that Peinovich was unable to contact “agreed to this motion to stay discovery,”

  ECF No. 225 at 8, only Defendant Richard Spencer has purported to join in the filing, see ECF

  Nos. 224–225.1

                                            ARGUMENT

          Motions to stay discovery are “generally disfavored.” Bennett v. Fastenal Co., No. 7:15-

  cv-00543, 2016 WL 10721816, at *1 (W.D. Va. Mar. 8, 2016) (internal quotation marks omitted);

  see also Kron Med. Corp. v. Groth, 119 F.R.D. 636, 637 (M.D.N.C. Apr. 7, 1988). In considering

  motions to stay discovery, a court “needs to remain mindful of its responsibility to expedite

  discovery and minimize delay. Disruption or prolongation of the discovery scheduling is normally

  in no one’s interest.” Kron Med. Corp., 119 F.R.D. at 637–38 (citation omitted).



  1
          Plaintiffs received by mail a copy of Defendant Richard Spencer’s “Joinder in and
  Adoption of Defendant Peinovich’s Motion to Stay Discovery,” which has not been electronically
  filed with the Court. Defendant Fields separately moved to stay discovery as to himself for reasons
  distinct from those set forth in Defendant Peinovich’s Motion. ECF Nos. 233–234.



                                                   2
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 4 of 12 Pageid#: 1488




         The Federal Rules of Civil Procedure permit parties to serve discovery after parties engage

  in their Rule 26(f) conference, FED. R. CIV. P. 26(d)(1), as Plaintiffs have done here. A party

  resisting this default rule, like Defendant Peinovich, must satisfy the requirements of Rule 26(c).

  Wilson v. First Class Patrol Officers Michael Slager, No. 2:15-cv-02170, 2016 WL 1253179, at

  *3 (D.S.C. Mar. 31, 2016) (a motion to stay “in reality, seeks a protective order pursuant to FED.

  R. CIV. P. 26(c)” (citation omitted)). As the moving party, Defendant Peinovich “bears the burden

  of showing good cause and reasonableness” for granting a discovery stay. Simpson v. Specialty

  Retail Concepts, Inc., 121 F.R.D. 261, 263 (M.D.N.C. 1988); accord United States v. Any & All

  Assets of That Certain Bus. Known as Shane Co., 147 F.R.D. 99, 101 (M.D.N.C. 1992). In

  determining whether to grant a stay, courts in the Fourth Circuit consider issues of prejudice and

  burden, as well as the potential for a dispositive motion to terminate all the claims in the case, the

  strength of the dispositive motion, and the relevancy of the discovery to the dispositive

  motion. See, e.g., Lismont v. Alexander Binzel Corp., No. 2:12-cv-00592, 2014 WL 12527482, at

  *1 (E.D. Va. Jan. 14, 2014); Kron Med. Corp., 119 F.R.D. at 638.

         For the reasons set forth below, Defendant Peinovich has failed to overcome the “rather

  high hurdle” of good cause embedded within Rule 26(c). Wilson, 2016 WL 1253179, at *4

  (quoting Baron Fin. Corp. v. Natanzon, 240 F.R.D. 200, 202 (D. Md. 2006)).2




  2
          Rule 26(c) also requires that the motion “include a certification that the movant has in good
  faith conferred or attempted to confer with other affected parties in an effort to resolve the dispute
  without court action.” As discussed above, Defendant Peinovich made no such attempt to confer
  with Plaintiffs prior to filing his Motion and therefore, not surprisingly, has failed to include the
  certification required by Rule 26(c). See ECF Nos. 224–225. On this basis alone, the Motion
  should be denied. See, e.g., Wilson v. Liberty Ins. Underwriters, Inc., No. 2:07-cv-0478, 2008 WL
  11380096, at *1 (S.D.W. Va. June 18, 2008).



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Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 5 of 12 Pageid#: 1489




    I.   DEFENDANT PEINOVICH HAS FAILED TO DEMONSTRATE ANY BURDEN
         CAUSED BY PLAINTIFFS’ DISCOVERY REQUESTS

         Defendant Peinovich argues that a stay is warranted because, in his view, Plaintiffs’

  discovery requests are broad. See ECF No. 225 at 6–7. As one court has explained, however:

         The moving party may not rely upon stereotyped and conclusory statements, to
         establish good cause; rather, the moving party must present a particular and specific
         demonstration of fact as to why a protective order [staying discovery] should issue.
         Broad allegations of harm, unsubstantiated by specific examples or articulated
         reasoning, do not support a good cause showing.

  Wilson, 2016 WL 1253179, at *3 (internal quotation marks and citations omitted, alteration in

  original); accord Kron Med. Corp., 119 F.R.D. at 638. Defendant Peinovich has made no

  “particular and specific demonstration of fact” to support his Motion. Rather, he merely refers to

  excerpts of Plaintiffs’ discovery requests and baldly asserts that the burden of responding is

  “tremendous.” ECF No. 225 at 7.

         On its face, Defendant Peinovich’s burden argument is nothing more than an objection to

  the scope of Plaintiffs’ discovery requests. While such an objection—itself unfounded—could be

  raised as part of his responses and objections to Plaintiffs’ discovery requests, see FED. R. CIV. P.

  33 & 34, it alone is not a basis for a stay of discovery. Indeed, by filing this Motion rather than

  responding to Plaintiffs’ discovery requests (in addition to failing to confer in good faith prior to

  filing this Motion), Defendant Peinovich is wasting the very judicial resources he purports to

  concern himself with in his Motion. See ECF No. 225 at 7–8.

         Defendant Peinovich’s burden argument fails for the additional reason that discovery from

  him will be required regardless of whether he succeeds on his motion to dismiss. Where, as here,

  a potential dismissal may not fully dispose of the case, a stay is “rarely appropriate.” Simpson,

  121 F.R.D. at 263. Plaintiffs’ FAC includes seven separate causes of action, including for

  conspiracy, against twenty-five different Defendants. See ECF No. 175. Accordingly, it is likely



                                                   4
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 6 of 12 Pageid#: 1490




  that at least some, if not all, of Plaintiffs’ claims will proceed beyond the motion to dismiss stage

  regardless of the Court’s decision on Defendant Peinovich’s motion to dismiss.              Because

  Defendant Peinovich is a key co-conspirator of the other Defendants, even if the claims against

  him were dismissed (and they should not be), he will still be subject to third party discovery as an

  alleged co-conspirator. Accordingly, there is no additional burden on Defendant Peinovich to

  answering discovery at this stage of the case.

         For all these reasons, Defendant Peinovich has failed to show that responding to Plaintiffs’

  discovery requests would impose upon him any undue burden. Regardless, as set forth in

  Section III below, the burden associated with Plaintiffs’ discovery requests, if any, would be far

  outweighed by the concrete prejudice Plaintiffs would suffer.

   II.   DEFENDANT PEINOVICH HAS NOT DEMONSTRATED A LIKELIHOOD OF
         DISMISSAL

         Defendant Peinovich’s argument that the merits of his motion to dismiss the FAC rise to

  the level of “good cause” to stay discovery is similarly unavailing. Although the likelihood of

  dismissal is a factor that courts may consider when deciding a motion to stay discovery, it is

  dispositive only if there “appears to be an immediate and clear possibility that [the motion to

  dismiss] will be granted.” Bennett, 2016 WL 10721816, at *1 (internal citations omitted, emphasis

  added). Seeking dismissal of all claims on legal grounds is not sufficient to satisfy the burden for

  demonstrating good cause. Fed. Ins. Co. v. S. Lithoplate, Inc., No. 5:12–cv–793, 2013 WL

  4045924, at * 1 n.2 (E.D.N.C. Aug. 8, 2013). If it were, courts would be required to stay discovery

  in every case in which a party filed a motion to dismiss pursuant to Rule 12(b)(6). Clearly, that is

  not the standard; courts in the Fourth Circuit routinely deny motions to stay discovery while a

  motion to dismiss is pending. See, e.g., Penguin Restoration Inc. v. Nationwide Mut. Ins. Co., No.




                                                   5
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 7 of 12 Pageid#: 1491




  5:13-cv-00063, 2013 WL 12164640, at *2 (E.D.N.C. July 24, 2013); Bennett, 2016 WL 10721816,

  at *1; Fed. Ins. Co., 2013 WL 4045924, at *1; Simpson, 121 F.R.D. at 263.3

          Here, there is no “immediate and clear possibility” that Defendant Peinovich’s motion to

  dismiss will be granted. As set forth more fully in Plaintiffs’ Memorandum in Opposition to

  Defendants’ Motions to Dismiss, ECF No. 231, there is no basis for the Court to dismiss Plaintiffs’

  FAC.    Specifically, Defendant Peinovich’s arguments on the motion to dismiss ignore the

  allegations in the FAC, improperly ask for inferences in his favor, and misstate the relevant legal

  standard applicable to Plaintiffs’ claims. See id.

   III.   PLAINTIFFS WOULD BE PREJUDICED BY A STAY OF DISCOVERY

          Finally, the prejudice to Plaintiffs of a stay outweighs any burden on Defendant Peinovich.

  As set forth in the FAC, ECF No. 175, Defendant Peinovich—along with the other Defendants

  and numerous unnamed co-conspirators—formed, oversaw, and executed a common plan to


  3
          The decisions cited by Defendant Peinovich do not hold otherwise. Rather, those decisions
  involve different legal considerations or circumstances in which the balancing of the relevant
  factors weighed in favor of a stay. For example, in three of those decisions, the cases presented
  issues of qualified immunity, which generally counsel in favor of a stay pending a motion to
  dismiss. See McMillian v. N.C. Cent. Prison, No. 5:10-ct-03037, 2011 WL 4433816, at *1
  (E.D.N.C. Sept. 22, 2011); Rutherford v. City of Newport News, Va., 919 F. Supp. 885, 888 n.3
  (E.D. Va. 1996); Anderson v. U.S. Attorneys Office, No. 1:91-cv-02262, 1992 WL 159186, at *1
  (D.D.C. June 19, 1992). Three other decisions cited by Defendant Peinovich concern Rule
  12(b)(1) motions, rather than 12(b)(6) motions. See Picture Patents, LLC v. Terra Holdings LLC,
  Nos. 07-cv-5465, 07-cv-5567, 2008 WL 5099947, at *1, *3, *3 n.2 (S.D.N.Y. Dec. 3, 2008); U.S.
  v. Cty. of Nassau, 188 F.R.D. 187, 188 (E.D.N.Y. 1999); Coastal States Gas Corp. v. Dep’t of
  Energy, 84 F.R.D. 278 (D. Del. 1979). Other decisions cited by Defendant Peinovich are
  inapposite. See Landis v. N. Am. Co., 299 U.S. 248, 257 (1936) (finding the length of a stay
  unreasonable where the court stayed one proceeding pending a decision in another proceeding
  involving the same statute); Josie-Delerme v. Am. Gen. Fin. Corp., No. 1:08-cv-03166, 2009 WL
  497609 (E.D.N.Y. Feb. 26, 2009) (granting unopposed motion to stay discovery where agreement
  to arbitrate was at issue); Spencer Trask Software & Info. Servs., LLC v. RPost Int’l, Ltd., 206
  F.R.D. 367, 368, 368 n.1 (S.D.N.Y. 2002) (granting stay pending motion to dismiss where the
  expense and possible injury to defendants’ ongoing business negotiations could be
  “irreparabl[e]”).




                                                   6
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 8 of 12 Pageid#: 1492




  engage in acts of targeted violence and intimidation. And, as further evidenced by the FAC’s

  allegations, there are unquestionably relevant documents, including extensive electronic

  communications among Defendants and their co-conspirators, that Plaintiffs have a right to

  discover in this case. See FED. R. CIV. P. 26(b)(1). The collection of these and other responsive

  documents is critical, and the requested delay would cause prejudice to Plaintiffs, who are seeking

  relief for the severe physical and emotional injuries they have suffered.4

         Courts are mindful of minimizing delays in discovery. See, e.g., Kron Med. Corp., 119

  F.R.D. at 637. For one thing, as the time for responding to discovery requests is pushed off,

  “matters of importance may be mislaid.” Id. at 638. Indeed, in today’s world of electronic

  discovery, see FED. R. CIV. P. 34(a)(1)(A), considerations of loss or deletion of electronically

  stored information, as well as the costs of preserving and hosting potentially responsive

  electronically stored information over extended periods of time, counsel strongly against a stay of

  discovery as prejudicial. There can be no guarantee that, during the pendency of Defendant

  Peinovich’s requested stay, critical evidence would not be mislaid or deleted—whether

  inadvertently or otherwise. Consequently, the costs of continued preservation, and the related risk

  that critical evidence in this case may be forever lost, substantially outweigh the generalized,

  undefined “burden” claimed by Defendant Peinovich. See supra Section I.




  4
          Plaintiffs are seeking, among other things, injunctive relief to enjoin Defendants from
  forming, overseeing, and executing any common plan to engage in additional targeted acts of
  racially-motivated violence and intimidation, like the events that are at the heart of this litigation.



                                                     7
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 9 of 12 Pageid#: 1493




                                          CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendant

  Peinovich’s Motion and order him to timely respond to Plaintiffs’ discovery requests.5



  Dated: February 26, 2018                    Respectfully submitted,

                                              s/ Robert T. Cahill
                                              Robert T. Cahill (VSB 38562)
                                              COOLEY LLP
                                              11951 Freedom Drive, 14th Floor
                                              Reston, VA 20190-5656
                                              Telephone: (703) 456-8000
                                              Fax: (703) 456-8100
                                              rcahill@cooley.com

                                              Of Counsel:

                                              Roberta A. Kaplan (pro hac vice)
                                              Julie E. Fink (pro hac vice)
                                              Christopher B. Greene (pro hac vice)
                                              Seguin L. Strohmeier (pro hac vice)
                                              KAPLAN & COMPANY, LLP
                                              350 Fifth Avenue, Suite 7110
                                              New York, NY 10118
                                              Telephone: (212) 763-0883
                                              rkaplan@kaplanandcompany.com
                                              jfink@kaplanandcompany.com
                                              cgreene@kaplanandcompany.com
                                              sstrohmeier@kaplanandcompany.com

                                              Karen L. Dunn (pro hac vice)
                                              William A. Isaacson (pro hac vice)
                                              BOIES SCHILLER FLEXNER LLP
                                              1401 New York Ave, NW
                                              Washington, DC 20005
                                              Telephone: (202) 237-2727
                                              Fax: (202) 237-6131
                                              kdunn@bsfllp.com
                                              wisaacson@bsfllp.com


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        Plaintiffs reserve the right to seek reasonable expenses, including attorney’s fees, if
  Defendant Peinovich’s Motion is denied. See FED. R. CIV. P. 37(a)(5).


                                                 8
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 10 of 12 Pageid#: 1494




                                      Philip M. Bowman (pro hac vice)
                                      Yotam Barkai (pro hac vice)
                                      Joshua J. Libling (pro hac vice)
                                      BOIES SCHILLER FLEXNER LLP
                                      575 Lexington Ave.
                                      New York, NY 10022
                                      Telephone: (212) 446-2300
                                      Fax: (212) 446-2350
                                      pbowman@bsfllp.com
                                      ybarkai@bsfllp.com
                                      jlibling@bsfllp.com

                                      Alan Levine (pro hac vice)
                                      COOLEY LLP
                                      1114 Avenue of the Americas, 46th Floor
                                      New York, NY 10036
                                      Telephone: (212) 479-6260
                                      Fax: (212) 479-6275
                                      alevine@cooley.com

                                      David E. Mills (pro hac vice)
                                      COOLEY LLP
                                      1299 Pennsylvania Avenue, NW
                                      Suite 700
                                      Washington, DC 20004
                                      Telephone: (202) 842-7800
                                      Fax: (202) 842-7899
                                      dmills@cooley.com

                                      Counsel for Plaintiffs




                                         9
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 11 of 12 Pageid#: 1495




                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2018, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt
   David L. Hauck
   David L. Campbell
   Duane, Hauck, Davis & Gravatt, P.C.
   100 West Franklin Street, Suite 100
   Richmond, VA 23220
   jgravatt@dhdglaw.com
   dhauck@dhdglaw.com
   dcampbell@dhdglaw.com

   Counsel for Defendant James A. Fields, Jr.

   Bryan Jones
   106 W. South St., Suite 211
   Charlottesville, VA 22902
   bryan@bjoneslegal.com

   Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South

   Elmer Woodard
   5661 US Hwy 29
   Blairs, VA 24527
   isuecrooks@comcast.net

   James E. Kolenich
   Kolenich Law Office
   9435 Waterstone Blvd. #140
   Cincinnati, OH 45249
   jek318@gmail.com

   Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
   Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
   Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
   Christopher Cantwell

   Michael Peinovich
   a/k/a Michael “Enoch” Peinovich
   PO Box 1069
   Hopewell Junction, NY 12533
   mpeinovich@gmail.com

   Pro Se


                                                   10
Case 3:17-cv-00072-NKM-JCH Document 240 Filed 02/26/18 Page 12 of 12 Pageid#: 1496




           I further hereby certify that on February 26, 2018, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan             Andrew Anglin
   a/k/a Loyal White Knights Church of                 P.O. Box 208
   the Invisible Empire, Inc.                          Worthington, OH 43085
   c/o Chris and Amanda Barker
   P.O. Box 54                                         East Coast Knights of the Ku Klux Klan
   Pelham, NC 27311                                    a/k/a East Coast Knights of the
                                                       True Invisible Empire
   Richard Spencer                                     26 South Pine St.
   1001-A King Street                                  Red Lion, PA 17356
   Alexandria, VA 22314
   -and-                                               Fraternal Order of the Alt-Knights
   P.O. Box 1676                                       c/o Kyle Chapman
   Whitefish, MT 59937                                 52 Lycett Circle
                                                       Daly City, CA 94015
   Moonbase Holdings, LLC
   c/o Andrew Anglin                                   Augustus Sol Invictus
   P.O. Box 208                                        9823 4th Avenue
   Worthington, OH 43085                               Orlando, FL 32824




                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs




                                                  11
